               Case 21-19640-JKS                  Doc 1    Filed 12/15/21 Entered 12/15/21 19:09:12                               Desc Main
                                                           Document     Page 1 of 33

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, NEWARK DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Darr Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  260 S Salem St
                                  Randolph, NJ 07869-1630
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 260 S Salem St Randolph, NJ 07869-1630
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Darr Group, LLC                                                                               Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                445120

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

     A debtor who is a “ small          Chapter 11. Check all that apply:
     business debtor”must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     subchapter V of chapter 11                                   cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     (whether or not the debtor is a                              procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor” ) must
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                  (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                  under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                   When                                    Case number
                                                District                                   When                                    Case number




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Debtor    Darr Group, LLC                                                                                   Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                       $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
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         Name

                            $50,001 - $100,000                        $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                            $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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Debtor    Darr Group, LLC                                                                                 Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       December 15, 2021
                                                    MM / DD / YYYY


                              X   /s/ Umer Darr                                                                  Umer Darr
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Managing Member




18. Signature of attorney     X   /s/ Scott J. Goldstein                                                           Date December 15, 2021
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Scott J. Goldstein
                                  Printed name

                                  Law Offices of Scott J. Goldstein, LLC
                                  Firm name


                                  280 W Main St
                                  Denville, NJ 07834-1233
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (973) 453-2838                  Email address         sjg@sgoldsteinlaw.com

                                  16472004
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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    Fill in this information to identify the case:

Debtor name       Darr Group, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY, NEWARK DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 15, 2021                 X /s/ Umer Darr
                                                             Signature of individual signing on behalf of debtor

                                                              Umer Darr
                                                              Printed name

                                                              Managing Member
                                                              Position or relationship to debtor
                    Case 21-19640-JKS                       Doc 1    Filed 12/15/21 Entered 12/15/21 19:09:12                                          Desc Main
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        Fill in this information to identify the case:
 Debtor name Darr Group, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY,                                                                                 Check if this is an
                                               NEWARK DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 24 Capital, LLC                                                                                                                                                         $32,649.43
 3110 37th Ave Ste
 202
 Long Island City, NY
 11101-2112
 Alpha Capital                                                                                                                                                           $17,538.16
 Source, Inc.
 622 E 8th St
 Brooklyn, NY
 11218-5906
 GCF Resources,                                                                                                                                                          $47,850.00
 LLC
 99 Wall St # 560
 New York, NY
 10005-4301
 HFH Capital, LLC                                                                                                                                                        $29,939.37
 6010 New Utrecht
 Ave
 Brooklyn, NY
 11219-5076
 Jersey Central                                                                                                                                                            $4,525.56
 Power and Light Co
 331 Newman
 Springs Rd Bldg 3
 Red Bank, NJ
 07701-5688
 New Jersey Natural                                                                                                                                                          $224.56
 Gas
 1415 Wyckoff Rd
 Farmingdale, NJ
 07727-3940
 Unique Funding                                               Bank loan                                                                                                  $43,237.20
 Solutions, LLC
 71 S Central Ave
 Valley Stream, NY
 11580-5495



Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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            Fill in this information to identify the case:

 Debtor name            Darr Group, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $            74,445.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $            74,445.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$          175,964.28


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             175,964.28




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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            Fill in this information to identify the case:

 Debtor name          Darr Group, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
      Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                              $3,000.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                            Last 4 digits of account
                                                                                                             number


            3.1.     BCB Bank                                             Checking                           9125                                       $200.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                      $3,200.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.    Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No.    Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                  page 1
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 Debtor         Darr Group, LLC                                                             Case number (If known)
                Name


    No.     Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
    Yes Fill in the information below.
           General description                      Date of the last        Net book value of      Valuation method used   Current value of
                                                    physical inventory      debtor's interest      for current value       debtor's interest
                                                                            (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Internal Inventory -
           snacks, drinks, supplies                 12/1/2021                       $61,000.00     Net estimate                      $61,000.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                      $61,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
           No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
            Yes. Book value                                    Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
    Yes Fill in the information below.
           General description                                              Net book value of      Valuation method used   Current value of
                                                                            debtor's interest      for current value       debtor's interest
                                                                            (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor         Darr Group, LLC                                                                  Case number (If known)
                Name

            Point of Sale systems, shelving                                             $10,245.00                              $10,245.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books,
            pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
            other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                    $10,245.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    No.     Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.     Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                          page 3
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 Debtor           Darr Group, LLC                                                                                      Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                $3,200.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $61,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $10,245.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $74,445.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $74,445.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                       page 4
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          Fill in this information to identify the case:

 Debtor name        Darr Group, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                             12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                          page 1 of 1
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    Fill in this information to identify the case:

 Debtor name         Darr Group, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $32,649.43
           24 Capital, LLC                                                     Contingent
                                                                               Unliquidated
           3110 37th Ave Ste 202                                               Disputed
           Long Island City, NY 11101-2112
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     0898                           Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $17,538.16
           Alpha Capital Source, Inc.                                          Contingent
                                                                               Unliquidated
           622 E 8th St                                                        Disputed
           Brooklyn, NY 11218-5906
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $47,850.00
           GCF Resources, LLC                                                  Contingent
                                                                               Unliquidated
           99 Wall St # 560                                                    Disputed
           New York, NY 10005-4301
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $29,939.37
           HFH Capital, LLC                                                    Contingent
                                                                               Unliquidated
           6010 New Utrecht Ave                                                Disputed
           Brooklyn, NY 11219-5076
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
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 Debtor       Darr Group, LLC                                                                        Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $4,525.56
           Jersey Central Power and Light Co                                Contingent
                                                                            Unliquidated
           331 Newman Springs Rd Bldg 3                                     Disputed
           Red Bank, NJ 07701-5688
                                                                           Basis for the claim:   Utilities
           Date(s) debt was incurred
           Last 4 digits of account number     5187                        Is the claim subject to offset?    No  Yes
 3.6       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                  $224.56
           New Jersey Natural Gas                                           Contingent
                                                                            Unliquidated
           1415 Wyckoff Rd                                                  Disputed
           Farmingdale, NJ 07727-3940
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.7       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $43,237.20
           Unique Funding Solutions, LLC                                    Contingent
                                                                            Unliquidated
           71 S Central Ave                                                 Disputed
           Valley Stream, NY 11580-5495
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
 4.1       David Fogel, PC
           1225 Franklin Ave Ste 522                                                                Line     3.1                                    0898
           Garden City, NY 11530-1753
                                                                                                            Not listed. Explain

 4.2       Joe Lieberman, Esq
           LIEBERMAN AND KLESTZICK, LLP                                                             Line     3.7
           71 S Central Ave
           Valley Stream, NY 11580-5495                                                                     Not listed. Explain


 4.3       Law Offices of Jacob Verstandig, PLLC
           1459 E13th St                                                                            Line     3.2
           Brooklyn, NY 11230
                                                                                                            Not listed. Explain

 4.4       Richard J. Pagnotta, Marshall
           6913 New Utrecht Ave                                                                     Line     3.7
           Brooklyn, NY 11228-1809
                                                                                                            Not listed. Explain

 4.5       Schechter Law Office PLLC
           347 Derby Ave                                                                            Line     3.3
           Woodmere, NY 11598-2819
                                                                                                            Not listed. Explain

 4.6       Triton Recovery Group
           2020 W Dixie Hwy Ste 703                                                                 Line     3.1                                    0898
           Miami, FL 33180
                                                                                                            Not listed. Explain




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 3
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 Debtor      Darr Group, LLC                                                                    Case number (if known)
             Name

           Name and mailing address                                                            On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                               related creditor (if any) listed?              account number, if
                                                                                                                                              any
 4.7       Zachter PLLC
           30 Wall St                                                                          Line      3.4
           New York, NY 10005-2201
                                                                                                     Not listed. Explain


 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                      5a.         $                          0.00
 5b. Total claims from Part 2                                                                      5b.    +    $                    175,964.28
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                           5c.         $                      175,964.28




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 3
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          Fill in this information to identify the case:

 Debtor name        Darr Group, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

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                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                     Business lease for
             lease is for and the nature of                 premises
             the debtor's interest

                 State the term remaining                   1 month
                                                                                      Gill Energy
               List the contract number of                                            935 State Route 34
                any government contract                                               Matawan, NJ 07747-3283




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Darr Group, LLC

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 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
     2.1     Umer Darr                        128 Humphrey Ave                                   24 Capital, LLC                 D
                                              Bayonne, NJ 07002-1116                                                             E/F         3.1
                                                                                                                                 G


     2.2     Umer Darr                        128 Humphrey Ave                                   Alpha Capital                   D
                                              Bayonne, NJ 07002-1116                             Source, Inc.                    E/F         3.2
                                                                                                                                 G


     2.3     Umer Darr                        128 Humphrey Ave                                   GCF Resources, LLC              D
                                              Bayonne, NJ 07002-1116                                                             E/F         3.3
                                                                                                                                 G


     2.4     Umer Darr                        128 Humphrey Ave                                   HFH Capital, LLC                D
                                              Bayonne, NJ 07002-1116                                                             E/F         3.4
                                                                                                                                 G


     2.5     Umer Darr                        128 Humphrey Ave                                   Unique Funding                  D
                                              Bayonne, NJ 07002-1116                             Solutions, LLC                  E/F         3.7
                                                                                                                                 G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Darr Group, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       From the beginning of the fiscal year to filing date:                                  Operating a business                                  $400,000.00
       From 1/01/2021 to Filing Date
                                                                                               Other


       For prior year:                                                                        Operating a business                                  $495,215.00
       From 1/01/2020 to 12/31/2020
                                                                                               Other


       For year before that:                                                                  Operating a business                                  $386,306.00
       From 1/01/2019 to 12/31/2019
                                                                                               Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Darr Group, LLC                                                                           Case number (if known)



    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
    Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
    relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
               Case title                                     Nature of case              Court or agency's name and                 Status of case
               Case number                                                                address
       7.1.    24 Capital LLC v. Darr Group                   Collections                 Supreme Court of the State                    Pending
               LLC and Umer Darr                                                          of NY, Putnam                                 On appeal
               501079/2019                                                                20 County Ctr                               Concluded
                                                                                          Carmel, NY 10512-1328

       7.2.    Unique Funding Solutions,                      Collections                 Supreme Court - Kings                         Pending
               LLC v. Darr Group, LLC and                                                 County                                        On appeal
               Umer Darr                                                                  360 Adams St                                Concluded
               514735/2019                                                                Brooklyn, NY 11201-3707

       7.3.    GCF Resources, LLC v. Darr                     Collection                  Supreme Court of the State                  Pending
               Group et als                                                               of New York                                   On appeal
                                                                                          60 Centre St                                  Concluded
                                                                                          New York, NY 10007-1402

       7.4.    Alpha Capital Source Inc. v.                   Collection                  Supreme Court of the State                    Pending
               Darr Group,LLC                                                             of New York                                   On appeal
               125528/2019                                                                27 N Main St                                Concluded
                                                                                          Canandaigua, NY
                                                                                          14424-1447

       7.5.    HFH Capital LLC v. Darr                        Collection                  Supreme Court - Kings                         Pending
               Group, LLC et als                                                          County                                        On appeal
               512840/2021                                                                360 Adams St                                Concluded
                                                                                          Brooklyn, NY 11201-3707


8. Assignments and receivership

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Debtor        Darr Group, LLC                                                                          Case number (if known)



    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None
               Recipient's name and address                   Description of the gifts or contributions                  Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss          Value of property
       the loss occurred                                                                                                                                     lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the               If not money, describe any property transferred               Dates               Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     Law Offices of Scott J.
                 Goldstein, LLC
                 280 W Main St
                 Denville, NJ 07834-1233                        5000.00                                                                                 $7,500.00

                 Email or website address
                 sjg@sgoldsteinlaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3

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 Debtor      Darr Group, LLC                                                                            Case number (if known)



    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                          Description of property transferred or                     Date transfer was       Total amount or
              Address                                         payments received or debts paid in exchange                made                             value

 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                                   Dates of occupancy
                                                                                                                          From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                Facility name and address                     Nature of the business operation, including type of services the          If debtor provides meals
                                                              debtor provides                                                           and housing, number of
                                                                                                                                        patients in debtor’
                                                                                                                                                          s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                    Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                                                                                                               EIN:

                    Has the plan been terminated?
                    No
                     Yes

 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4

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 Debtor      Darr Group, LLC                                                                            Case number (if known)



    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and                Last 4 digits of           Type of account or           Date account was          Last balance before
                Address                                       account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Do you still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


      None
       Facility name and address                                   Names of anyone with access            Description of the contents              Do you still
                                                                   to it                                                                           have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

    None

 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                       Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.




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 Debtor      Darr Group, LLC                                                                            Case number (if known)



       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       SA Associates                                                                                                             1-1-2019


       26a.2.       New Century Financial Tax                                                                                                 12-2020
                    3 Prospect St
                    Rockaway, NJ 07866

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

          None

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

           None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
       26c.1.       New Century Financial Tax
                    3 Prospect St
                    Rockaway, NJ 07866

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

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 Debtor      Darr Group, LLC                                                                            Case number (if known)




              Name of the person who supervised the taking of the                           Date of inventory        The dollar amount and basis (cost, market,
              inventory                                                                                              or other basis) of each inventory
       27.1 Umer Darr
       .                                                                                    12/1/2021                cost

              Name and address of the person who has possession of
              inventory records
              Umer Darr
              260 S Salem St
              Randolph, NJ 07869-1630


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Umer Darr                                    128 Humphrey Ave                                      President/Managing Member              100
                                                    Bayonne, NJ 07002-1116



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient                   Amount of money or description and value of                Dates              Reason for providing
                                                              property                                                                      the value
       30.1 Umer Darr                                                                                                                       Salary for
       .    128 Humphrey Ave                                                                                                                services rendered
              Bayonne, NJ 07002-1116                          $350 per week salary                                       Weekly             to the Debtor

              Relationship to debtor
              Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the parent
                                                                                                              corporation



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 Debtor      Darr Group, LLC                                                                            Case number (if known)



 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        December 15, 2021

 /s/ Umer Darr                                                         Umer Darr
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




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                                                               United States Bankruptcy Court
                                                            District of New Jersey, Newark Division
 In re       Darr Group, LLC                                                                                 Case No.
                                                                              Debtor(s)                      Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                  5,750.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          350.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
              Debtor                   Other (specify):      Umer Darr

3.     The source of compensation to be paid to me is:
                    Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       Darr Group, LLC                                                                        Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 15, 2021                                                       /s/ Scott J. Goldstein
     Date                                                                    Scott J. Goldstein
                                                                             Signature of Attorney
                                                                             Law Offices of Scott J. Goldstein, LLC

                                                                             280 W Main St
                                                                             Denville, NJ 07834-1233
                                                                             (973) 453-2838 Fax: (973) 453-2869
                                                                             sjg@sgoldsteinlaw.com
                                                                             Name of law firm




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                                                                  United States Bankruptcy Court
                                                               District of New Jersey, Newark Division

       IN RE:                                                                                            Case No.
       Darr Group, LLC                                                                                   Chapter 11
                                                             Debtor(s)

                                                             VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: December 15, 2021                               Signature: /s/ Umer Darr
                                                                          Umer Darr, Managing Member                                  Debtor



       Date:                                                 Signature:
                                                                                                                          Joint Debtor, if any




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     24 Capital, LLC
     3110 37th Ave Ste 202
     Long Island City, NY 11101-2112


     Alpha Capital Source, Inc.
     622 E 8th St
     Brooklyn, NY 11218-5906


     David Fogel, PC
     1225 Franklin Ave Ste 522
     Garden City, NY 11530-1753


     GCF Resources, LLC
     99 Wall St # 560
     New York, NY 10005-4301


     Gill Energy
     935 State Route 34
     Matawan, NJ 07747-3283


     HFH Capital, LLC
     6010 New Utrecht Ave
     Brooklyn, NY 11219-5076


     Internal Revenue Service
     Centralized Insolvency Operation
     PO Box 7346
     Philadelphia, PA 19101-7346
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     Jersey Central Power and Light Co
     331 Newman Springs Rd Bldg 3
     Red Bank, NJ 07701-5688


     Joe Lieberman, Esq
     LIEBERMAN AND KLESTZICK, LLP
     71 S Central Ave
     Valley Stream, NY 11580-5495


     Law Offices of Jacob Verstandig, PLLC
     1459 E13th St
     Brooklyn, NY 11230


     New Jersey Natural Gas
     1415 Wyckoff Rd
     Farmingdale, NJ 07727-3940


     Richard J. Pagnotta, Marshall
     6913 New Utrecht Ave
     Brooklyn, NY 11228-1809


     Schechter Law Office PLLC
     347 Derby Ave
     Woodmere, NY 11598-2819


     State of New Jersey
     N.J. Division of Taxation Bankruptcy Sec
     PO Box 245
     Trenton, NJ 08695-0245
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     Triton Recovery Group
     2020 W Dixie Hwy Ste 703
     Miami, FL 33180


     Unique Funding Solutions, LLC
     71 S Central Ave
     Valley Stream, NY 11580-5495


     Zachter PLLC
     30 Wall St
     New York, NY     10005-2201
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                                                United States Bankruptcy Court
                                            District of New Jersey, Newark Division


  IN RE:                                                                          Case No.
  Darr Group, LLC                                                                 Chapter       11
                                   Debtor(s)


                                         CORPORATE OWNERSHIP STATEMENT

        Pursuant to Bankruptcy Rules 1007(a) and Bankruptcy Rule 7007.1, and Local Rules
1007-1, 2003-2, 7007.1-1 and 9014-1(B),

                 ____Darr Group, LLC_______________________________________, a
                                 [Name of Corporate Party]

                          (check one):
                          [X ] Corporate Debtor

                          [ ] Party to an adversary proceeding

                          [ ] Party to a contested matter

                          [ ] Member of committee of creditors

makes the following disclosure(s):

All corporations, other than a governmental unit, that directly or indirectly own ten percent
(10%) or more of any class of the corporation's equity interests are listed below:
                  _________________________________________________
                  _________________________________________________
                  _________________________________________________
                  _________________________________________________
OR

[X]     There are no entities that directly or indirectly own 10% or more of any class of the
        corporation's equity interest.

        Dated this 15th day of December, 2021.

                                                                         /s/ Scott J. Goldstein
                                                                         Attorney Name, OBA #16472004
                                                                         [Address/Telephone/Fax/Email]
                                                                         Scott J. Goldstein
                                                                         280 W Main St
                                                                         Denville, NJ 07834-1233
                                                                         Phone: (973) 453-2838 Fax: (973) 453-2869
                                                                         sjg@sgoldsteinlaw.com
                                                                         Attorney for Darr Group, LLC
